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                        IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION
                                   IN ADMIRALTY
                            CASE NO: 1:20-20354-CIV-MORENO

  IN THE MATTER OF:

  THE COMPLAINT OF MAB120, LLC, AS
  OWNERS OF M/Y ANDIAMO, 2006 120’
  BENETTI YACHT (O.N.:71133) IN A CAUSE
  OF EXONERATION FROM OR LIMITATION
  OF LIABLITY,

                Petitioner,

  v.

  ISLAND GARDENS DEEP HARBOUR, LLC,

                Claimant/Third-Party Plaintiff,

  v.

  MARCO MUÑIZ,

              Third-Party Defendant.
  ___________________________________________/

   ISLAND GARDENS DEEP HARBOUR, LLC’S ANSWER, AFFIRMATIVE DEFENSES
     AND CLAIM TO PETITIONER’S VERIFIED COMPLAINT FOR EXONERATION
      FROM OR LIMITATION OF LIABILITY AND THIRD-PARTY COMPLAINT
                         AGAINST MARCO MUÑIZ

         COMES NOW, ISLAND GARDENS DEEP HARBOUR, LLC (hereinafter “Marina” or

  “Claimant”), by and through its undersigned counsel, herewith files its Answer, Affirmative

  Defenses and Claim to the Petition for Exoneration from or Limitation of Liability of Petitioner,

  MAB120, LLC’s (hereinafter “Petitioner”), and states:




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                              ANSWER AND AFFIRMATIVE DEFENSES

         1.      Paragraph 1 is a recitation of purported jurisdiction for Petitioner to credibly prove

  and the Court to determine. To the extent a response is required, the Marina denies the allegations

  set forth in paragraph 1.

         2.      Paragraph 2 is a recitation of purported jurisdiction for Petitioner to credibly prove

  and the Court to determine. To the extent a response is required, the Marina denies the allegations

  set forth in paragraph 2.

         3.      Claimant denies sufficient knowledge or information upon which to admit or deny

  the allegations contained in this paragraph.

         4.      Paragraph 4 is a recitation of purported venue for Petitioner to credibly prove and

  the Court to determine. To the extent a response is required, the Marina denies the allegations set

  forth in paragraph 4.

         5.      Claimant admits that on or about December 18, 2019, M/Y ANDIAMO was

  moored at the Marina where Petitioner was granted a right to use a slip for the vessel. Claimant

  denies the remaining allegations of this paragraph.

         6.      Claimant admits that at some time on December 18, 2019, M/Y ANDIAMO was

  moored at the Marina when thereafter, M/Y ANDIAMO became ingulfed in flames. Claimant

  denies sufficient knowledge or information upon which to admit or deny the truth of the remaining

  allegations contained in this paragraph.

         7.      Denied.

         8.      Claimant denies sufficient knowledge or information upon which to admit or deny

  the truth of the allegations contained in this paragraph.




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         9.      Claimant denies sufficient knowledge or information upon which to admit or deny

  the truth of the allegations contained in this paragraph. To the extent Petitioner has some fault or

  is denied the relief it seeks herein, Claimant seeks award of its damages against Petitioner.

         10.     Claimant denies sufficient knowledge or information upon which to admit or deny

  the truth of the allegations contained in this paragraph.

         11.     Claimant denies sufficient knowledge or information upon which to admit or deny

  the truth of the allegations contained in this paragraph.

         12.     Claimant denies sufficient knowledge or information upon which to admit or deny

  the truth of the allegations contained in this paragraph.

         13.     The allegation in this paragraph contains legal conclusions and does not contain

  allegations of fact for which an answer is required. To the extent a response is required, Claimant

  denies the allegations set forth in paragraph 13.

                                     AFFIRMATIVE DEFENSES

           1.    The Limitation Fund is inadequate and Petitioner’s Complaint should be dismissed

  because Petitioner failed to deposit adequate security equal to the value of the vessel.

           2.    All insurance amounts providing coverage for Petitioner for the events and

  occurrences relating to the incident at issue must be included in the Limitation Fund.

           3.    Petitioner is jointly and severally liable for the negligent acts of third parties who

  are not entitled to exoneration and/or limitation of liability.

           4.    The limitation fund should include any and all proceeds from any judgment, award,

  settlement or recovery which may be received by Petitioner from any third party.




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          5.     The December 18, 2019 incident described in the Limitation Complaint resulting

  in the injury to Claimant was done, occasioned and incurred with the privity of knowledge of the

  owner of M/Y ANDIAMO.

          6.     The December 18, 2019 incident described in the Limitation Complaint and the

  damages resulting therefrom were caused in whole or in part by the negligence of the Petitioner

  and/or its principals and/or agents and/or employees and its captain, and that such acts of

  negligence were within the privity and knowledge of the Petitioner and its principals.

          7.     The December 18, 2019 incident described in the Limitation Complaint was done

  and occasioned due to an unseaworthy condition of M/Y ANDIAMO.

          8.     The value of M/Y ANDIAMO is disputed.

          9.     The December 18, 2019 incident occurred due to the negligent entrustment of the

  M/Y ANDIAMO by Petitioner.

          10.    Claimant has a personal contract with the owner of M/Y ANDIAMO, attached

  hereto as Exhibit 1, the owner to fully save harmless and indemnify the Claimant, and thus, is not

  entitled to limitation under the personal contract doctrine.

          11.    To the extent the allegations of the Claim of the Marina, filed herein, constitute

  affirmative defenses to the Limitation Complaint, those allegations are hereby incorporated by

  reference.

         WHEREFORE, ISLAND GARDENS DEEP HARBOUR, LLC, for the foregoing reasons,

  demands judgment against Petitioner MAB120, LLC, as alleged Owner and Operator of M/Y

  ANDIAMO, as aforesaid, including pre-judgment interest, costs, and attorney’s fees as are

  allowable under the contract between Claimant and Petitioner, as well as any further relief as this

  Court deems just and proper under the circumstances.



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                    CLAIM OF ISLAND GARDENS DEEP HARBOUR, LLC
                                AGAINST PETITIONER

         COMES NOW, ISLAND GARDENS DEEP HARBOUR, LLC, by and through its

  undersigned counsel, hereby sues the Petitioner, MAB120, LLC, the alleged owner/operator of

  M/Y ANDIAMO, and states:

         1.      This is an admiralty and maritime claim within the jurisdiction of this Court under

  the provisions of 28 U.S.C. § 1333 and is brought within the meaning of Rule 9(h) and

  Supplemental Rule F(5) of the Federal Rules of Civil Procedure.

         2.      At all times material hereto, M/Y ANDIAMO was a pleasure vessel operating in

  the navigable waters of the United States and within this District, to wit, Miami-Dade County,

  Florida.

         3.      At all times material hereto, Claimant operated the Island Gardens Marina located

  at 888 MacArthur Causeway, Miami, Florida 33132, a marina in which M/Y ANDIAMO was

  moored (the “Marina”).

         4.      On or about December 18, 2019, Claimant’s Marina and other vessels at the Marina

  were damaged when Petitioner’s Vessel, M/Y ANDIAMO, caught fire, causing damages to the

  Marina.

         5.      At all times material hereto, Petitioner had a duty to maintain M/Y ANDIAMO in

  a seaworthy condition, to exercise reasonable care in maintaining the vessel’s safety and security,

  and to exercise reasonable care to prevent fire and/or protecting innocent third parties from damage

  resulting from the vessel’s fire.

         6.      The maintenance of M/Y ANDIAMO was caused by the fault, neglect, action,

  omissions or inactions of the Petitioner by failing to maintain the vessel in a reasonably safe

  condition, by failing to observe safe practices in the safety of the vessel, by failing to have


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  sufficient and/or properly trained crew on board the vessel, and/or by failing to exercise reasonable

  care in the lighting of the vessel and/or failing to secure and/or prevent of entry of unauthorized

  persons on board the vessel.

          7.       As a proximate result of the neglect, fault, actions, omissions or inactions of

  Petitioner and/or its agents, servants, contractors, employees and/or crew, M/Y ANDIAMO

  suffered a fire, which caused M/Y ANDIAMO to burn other vessels and Marina installations and

  upon the arrival of first responders, damaged the Marina’s docks, pilings, electrical systems and

  other marina equipment, resulting in damage to Claimant’s real and personal property.

          8.       The damages to Claimant are estimated to be $152,641.85, not including interest,

  attorney’s fees and costs.

          9.       The damages to Claimant are ongoing and subject to revision as final attorney’s

  fees and costs become known.

          10.      The valid Vessel Dockage Agreement for the dockage of M/Y ANDIAMO

  (“ANDIAMO Marina Agreement”) entered into by Petitioner provides in pertinent part:

          A. The term “Indemnified Parties” collectively refers to Company, Company’s
             employees, members, officers and agents, The City of Miami and The City of
             Miami’s employees and agents, and Company’s affiliates and subsidiaries,
             including but not limited to, Flagstone Island Gardens, LLC, Flagstone Asset
             Management, LLC, Flagship Hospitality Management, LLC, Island Gardens
             Retail Experience, LLC, and Island Gardens Parking Structures, LLC, as we as
             their respective members, managers, officers, employees and agents. The term
             “Vessel Owner Parties” collectively refers to Vessel Owner’s Guests1 and any
             vendors retained by Vessel Owner. The terms “Claims” collectively refer to the
             following claims, fines, damages, and losses:

          i.       Any liability for any loss or damage to the Vessel, its gear, equipment, and
                   contents, for any reason, including Company equipment failure;
          ii.      All loss, damage, liability, legal action or claim, of any nature, arising from
                   the Vessel or any other vessel at the Marina which Vessel Owner or the
                   Vessel Owner Parties caused or allowed to be placed in the Marina;

  1
   This term is defined in page 2 of the Vessel Dockage Agreement as “Vessel Owner’s crew, guests, employees,
  agents, invitees, and licensees”.

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         iii.   All claims, damages, losses and expenses, including attorneys’ fees and
                costs at all levels, to or on behalf of any vessel, persons, real or personal
                property, including Vessel, Vessel Owner and Vessel Owner Parties, arising
                out of Vessel Owner’s or Vessel Owner Parties’ storage or use of the
                Marina, Boat Slip, Premises, including, but not limited to
                claims/damages/losses/expenses resulting from moving, maintaining, or
                repairing the Vessel, Vessel Owner’s or Vessel Owner Parties’ operation of
                motor/electric vehicles or equipment, or any other activities of Vessel
                Owner or Vessel Owner Parties in connection with this Agreement, and
                claims/damages/losses/expenses due to casualty, theft, conversion,
                destruction, negligence, breach of warranty, vandalism, fire, collision, or
                any other cause, whether man-made or attributable to an “act of God” or
                natural disaster, including but not limited to hurricanes, tropical storms,
                wind, lightening, rain, flooding, or other severe weather, or whether based
                on the failure of or alleged insufficiency in the Company’s firefighting
                procedures and equipment, first aid, and security provisions;
         iv.    All losses and expenses incurred, including attorneys’ fees and costs at all
                levels, because of Vessel Owner’s failure to obtain and maintain the
                insurance required per this Agreement, or Vessel Owner’s failure to require
                the Vessel Owner Parties to obtain and maintain the insurance required per
                this Agreement; and
         v.     All claims, damages, losses and expenses, including attorneys’ fees and
                costs at all levels, permits fees, fines, clean-up costs, mitigation costs,
                consultant fees, response actions, liability inspections, or claims imposed
                or otherwise mandated by any government authority, any court, or any
                third-party based on or related to the Vessel’s, Vessel Owner’s or Vessel
                Owner Parties’ non-compliance or violations of any approvals, rules,
                regulations, applicable laws or ordinances of any authority having
                jurisdiction over the Vessel or the Premises.
         B. TO THE FULLEST EXTENT PERMITTED UNDER FLORIDA LAW, VESSEL
             OWNER, FOR ITSELF, VESSEL OWNER PARTIES, AND VESSEL OWNER’S
             HEIRS, SUCCESSORS AND ASSIGNS, HEREBY AGREES TO INDEMNIFY
             THE INDEMNIFIED PARTIES FROM ALL CLAIMS (AS DEFINED ABOVE),
             EXCEPT TO THE EXTENT THAT THE CLAIM IS THE RESULT OF
             COMPANY’S SOLE GROSS NEGLIGENCE…

  See Ex.1 at 5-6 (emphasis added).

         11.    The ANDIAMO Marina Agreement was signed, upon information and belief, the

  beneficial owner/operator of M/Y ANDIAMO, Marco Muñiz. Id. at 10. Petitioner further agrees:

         If the person signing this Agreement is not the Vessel Owner, such person warrants and
         represents his or her authority to obligate the Vessel Owner and the Vessel to the terms of
         this Agreement and, by singing her[e]on, also agrees to be bound personally by the terms
         and obligations set forth in this Agreement. In addition, Vessel Owner waives any and all


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         defenses that this Agreement has been executed and entered into without their authority,
         whether expressed, apparent, or otherwise, and agrees that this Agreement constitutes a
         legal, valid and binding obligation of the Vessel Owner and the Vessel, and is enforceable
         against the Vessel Owner and Vessel in accordance with the terms hereof…

  Id. at 9. Thus, the Petitioner has personally agreed to be bound by the terms of the ANDIAMO

  Marina Agreement. Therefore, the Petitioner is not entitled to seek exoneration or limitation of

  liability under the Limitation Act.

         12.      Petitioner has breached said ANDIAMO Marina Agreement in failing to indemnify

  and hold harmless Claimant from its claims related to M/Y ANDIAMO’s storage within the

  Marina.

         13.      Petitioner has further breached the ANDIAMO Marina Agreement in causing

  damage to Claimant’s real and personal property.

         14.      Petitioner, if its Petition is being financially supported by his insurance company,

  is further breaching the terms of the ANDIAMO Marina Agreement, which states:

               Vessel Owner must maintain a third-party liability policy (Protection and
               Indemnity) upon the Vessel with limits of no less than $1,000,000…It is
               expressly agreed by Vessel Owner that Company and any and all of Company’s
               subsidiaries and affiliates, and the City of Miami are not and shall not be
               construed to be an insurer of Vessel Owner’s property loss or property damage
               to the Vessel, its motor, accessories or contents due to fire, vandalism, theft,
               collision or any other casualty loss, and the Vessel Owner waives his/her
               insurer’s right of subrogation against the Company and any and all of
               Company’s subsidiaries and affiliates, and their employees and agents, and
               against the City of Miami and its employees and agents…Vessel Owner further
               warrants that he/she shall look solely to his/her insurance policy for recovery
               of any loss or damage to the Vessel which is not caused by the intentional
               misconduct of Company, any and all of Company’s subsidiaries and affiliates,
               and the City of Miami…

  Id. at 6-7 (emphasis added).

         15.      Petitioner also agreed that Claimant is entitled to recover its attorney’s fees and

  costs of this Limitation Action. The ANDIAMO Marina Agreement states in pertinent part:



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          Vessel Owner agrees to immediately and actively defend or fund the defense of the
          Indemnified Parties against any Claims by paying all reasonable attorney’s fees,
          costs, expert witness fees, paraprofessional fees, and other reasonable expenses
          incurred by the Indemnified Parties, regardless of whether a lawsuit is actually
          filed, and without regard to fault…

  Id. at 6.

          16.    Claimant has hired the undersigned to represent its interests in this Limitation

  Action and as a result, has been damaged by Petitioner.

          17.    Claimant has asked Petitioner to take over the defense and prosecution of the

  Marina’s claims and Petitioner has refused.

          18.    As a direct and proximate result of the herein alleged, Claimant has been damaged

  by Petitioner’s various breaches of the ANDIAMO Marina Agreement in the amount of

  approximately $152,641.85, not including interest, attorney’s fees and costs.

          19.    The damages to Claimant are ongoing and subject to revision as final attorney’s

  fees and costs become known.

          WHEREFORE, ISLAND GARDENS DEEP HARBOUR, LLC, for the foregoing reasons,

  demands judgment against Petitioner MAB120, LLC, as alleged Owner and Operator of M/Y

  ANDIAMO, as aforesaid, including pre-judgment interest, costs, and attorney’s fees pursuant to

  the ANDIAMO Marina Agreement, as well as any further relief as this Court deems just and proper

  under the circumstances.

                  THIRD PARTY COMPLAINT AGAINST MARCO MUÑIZ

          COMES NOW the Third-Party Plaintiff, ISLAND GARDENS DEEP HARBOUR, LLC

  (the “Island Gardens”), by and through its undersigned attorneys and in accordance with the

  applicable Federal Rules of Civil Procedure and Rule F of the Supplemental Rules for Admiralty




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   and Maritime Claims, and hereby files this its Third-Party Complaint against MARCO MUÑIZ

   (“Muñiz”), and in support thereof states as follows:

                               JURISDICTION, VENUE AND PARTIES

           1.      This is an admiralty and maritime claim coming within the jurisdiction of this Court

   under the provisions of 28 U.S.C. § 1333 and is brought within the meaning of Rule 9(h), Rule

   14(c) and Supplemental Rule F(5) of the Federal Rules of Civil Procedure.

           2.      This court also retains jurisdiction over this Third-Party Complaint pursuant to 28

   U.S.C. § 1367(a) as it arises out of the same transaction and occurrence as alleged in Petitioner’s

   Petition for Exoneration and/or Limitation.

           3.      The events, acts and circumstances giving rise to this action all occurred in the State

   of Florida and on the navigable waters of the United States, in Miami-Dade County, Florida, during

   a traditional maritime activity.

           4.      At all material times hereto, the Third-Party Plaintiff, Island Gardens was a Florida

   limited partnership organized and existing pursuant to the laws of the State of Florida and

   maintained its principal place of business at 888 MacArthur Causeway, Miami-Dade County,

   Florida.

           5.      Third Party Plaintiff, Island Gardens operates a marina located at its principal place

   of business (the “Marina”).

           6.      At all material times hereto, Muñiz is, upon information and belief, the beneficial

   owner or operator of M/Y ANDIAMO, a 2006 120’ Fiberglass Benetti Motor Yacht.

           7.      At all times material hereto, M/Y ANDIAMO was in the State of Florida within the

   navigable waters and territorial limits of this District.




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           8.      Upon information and belief, Muñiz is a U.S. citizen and resident of Miami,

   Florida, or is otherwise a resident in this District.

           9.      Venue is proper in the United States District Court for the Southern District of

   Florida as at all times material hereto, the vessel involved herein has been in the State of Florida

   within this District and operated by the Third-Party Defendant named herein. The incident from

   which M/Y ANDIAMO damaged the pilings and structure of the Marina arose while M/Y

   ANDIAMO caught fire while moored in the navigable waters of the United States in Miami-Dade

   County, Florida.

                       GENERAL ALLEGATIONS COMMON TO ALL COUNTS

           10.     On or about December 18, 2019, M/Y ANDIAMO was docked at the Marina.

           11.     On or about December 18, 2019, M/Y ANDIAMO caught fire in its interior.

           12.     The fire aboard M/Y ANDIAMO caused damage to the Marina and other vessels

   at the Marina, including M/Y ANDIAMO.

           13.     As a result of the fire aboard M/Y ANDIAMO, the Marina sustained direct damages

   approximating $152,641.85, not including interest, costs and attorneys’ fees.

           14.     On or about June 20, 2019, Muñiz entered into a Vessel Dockage Agreement with

   Island Gardens for the dockage of M/Y ANDIAMO, further referred to herein as the ANDIAMO

   Marina Agreement attached hereto as Exhibit 1.

           15.     Muñiz or a person at the direction of Muñiz, signed the ANDIAMO Marina

   Agreement as “owner” of M/Y ANDIAMO. See Ex.1 at 10.

           16.     The ANDIAMO Marina Agreement was in effect at the time of the incident

   described herein.

           17.     The ANDIAMO Marina Agreement entered into by Muñiz states in pertinent part:



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           If the person signing this Agreement is not the Vessel Owner, such person warrants and
           represents his or her authority to obligate the Vessel Owner and the Vessel to the terms
           of this Agreement and, by singing her[e]on, also agrees to be bound personally by the
           terms and obligations set forth in this Agreement. In addition, Vessel Owner waives any
           and all defenses that this Agreement has been executed and entered into without their
           authority, whether expressed, apparent, or otherwise, and agrees that this Agreement
           constitutes a legal, valid and binding obligation of the Vessel Owner and the Vessel, and
           is enforceable against the Vessel Owner and Vessel in accordance with the terms hereof…

   Id. at 9 (emphasis). Therefore, the terms of the ANDIAMO Marina Agreement provides that Muñiz

   agrees to be bound personally to its terms and conditions.

           18.    Muñiz also agreed that Island Gardens is entitled to recover its attorneys’ fees and

   costs of this action. The ANDIAMO Marina Agreement states in pertinent part:

           Vessel Owner agrees to immediately and actively defend or fund the defense of the
           Indemnified Parties against any Claims by paying all reasonable attorney’s fees,
           costs, expert witness fees, paraprofessional fees, and other reasonable expenses
           incurred by the Indemnified Parties, regardless of whether a lawsuit is actually
           filed, and without regard to fault….

   Id. at 6.

           19.    Island Gardens has hired the undersigned to represent its interests in this action and

   as a result, has been damaged by Muñiz.

           20.    As Muñiz entered into a personal contract wherein he had a personal obligation to

   perform, Muñiz may not limit his liability in this action.

           21.    All    conditions     precedent      to     the   filing   of   this   Third    Party

   Complaint have occurred, been performed, or have been waived by the Third-Party Defendant.

                                COUNT I – BREACH OF CONTRACT

           22.    Island Gardens readopts and realleges the allegations set for in the paragraphs titled

   “Jurisdiction, Venue and Parties” and “General Allegations Common to All Counts” above as if

   fully set forth herein and further alleges as follows:

           23.    The ANDIAMO Marina Agreement provides in relevant part:


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          All claims, damages, losses and expenses, including attorneys’ fees and costs at all
          levels, to or on behalf of any vessel, persons, real or personal property, including
          Vessel, Vessel Owner and Vessel Owner Parties, arising out of Vessel Owner’s or
          Vessel Owner Parties’ storage or use of the Marina, Boat Slip, Premises, including,
          but not limited to claims/damages/losses/expenses resulting from moving,
          maintaining, or repairing the Vessel, Vessel Owner’s or Vessel Owner Parties’
          operation of motor/electric vehicles or equipment, or any other activities of Vessel
          Owner or Vessel Owner Parties in connection with this Agreement, and
          claims/damages/losses/expenses due to casualty, theft, conversion, destruction,
          negligence, breach of warranty, vandalism, fire, collision, or any other cause,
          whether man-made or attributable to an “act of God” or natural disaster, including
          but not limited to hurricanes, tropical storms, wind, lightening, rain, flooding, or
          other severe weather, or whether based on the failure of or alleged insufficiency in
          the Company’s firefighting procedures and equipment, first aid, and security
          provisions

   Id. at 5 (emphasis added).

          24.     Thus, the terms of the ANDIAMO Marina Agreement squarely provides that the

   obligation for preventing fire rests personally with Muñiz.

          25.     At all times material, including before and during the time M/Y ANDIAMO was at

   the Marina, Muñiz was responsible and had a duty to personally (a) prevent fires aboard M/Y

   ANDIAMO, (b) establish reasonable practices and procedures to prevent fires aboard M/Y

   ANDIAMO, and (c) exercise reasonable care in safely owning, managing, controlling, equipping,

   manning, maintaining, repairing and operating M/Y ANDIAMO, its crew, engines, tackle,

   appurtenances, and equipment.

          26.     Muñiz breached these duties, in that he failed to (a) adequately prevent fires aboard

   M/Y ANDIAMO, and/or (b) adequately establish reasonable practices and procedures to prevent

   fires aboard M/Y ANDIAMO, and/or (c) exercise reasonable care in safely owning, managing,

   controlling, equipping, manning, maintaining, repairing and operating M/Y ANDIAMO, its crew,

   engines, tackle, appurtenances, and equipment. comply with applicable statutes, rules, regulations

   and ordinances relating to safely owning, managing, controlling, equipping, manning, maintaining,



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   repairing and operating the M/Y ANDIAMO, its crew, engines, tackle, appurtenances and

   equipment.

           27.    As a direct and proximate result of the herein alleged, Island Gardens has suffered

   damages because of Muñiz’ breach of the ANDIAMO Marina Agreement, including but not

   limited to: (a) the Marina facility, equipment and other damages of approximately $152,641.85,

   not including interest; (b) having to defend the Petition and present Island Gardens’ claim in the

   Petitioner’s Limitation Action; and (c) incurring attorney’s fees and costs for all the foregoing.

           WHEREFORE, Third Party Plaintiff, ISLAND GARDENS DEEP HARBOUR, LLC for

   the foregoing reasons, hereby demands judgment against Third Party Defendant, MARCO

   MUÑIZ, as aforesaid, for the damages claimed by the Third Party Plaintiff, including pre-

   judgment interest, costs, and attorney’s fees pursuant to the ANDIAMO Marina Agreement, as

   well as any further relief as this Court deems just and proper under the circumstances.

                            COUNT II--CONTRACTUAL INDEMNITY

           28.    Third-Party Plaintiff repeats and re-alleges each and every allegation set forth in

   the sections titled “Jurisdiction, Venue and Parties” and “General Allegations Common to All

   Counts” above as if fully set forth herein and further alleges as follows:

           29.    Under the ANDIAMO Marina Agreement, Muñiz agreed that:

           TO THE FULLEST EXTENT PERMITTED UNDER FLORIDA LAW, VESSEL
           OWNER, FOR ITSELF, VESSEL OWNER PARTIES, AND VESSEL OWNER’S
           HEIRS, SUCCESSORS AND ASSIGNS, HEREBY AGREES TO INDEMNIFY THE
           INDEMNIFIED PARTIES FROM ALL CLAIMS (AS DEFINED ABOVE), EXCEPT
           TO THE EXTENT THAT THE CLAIM IS THE RESULT OF COMPANY’S SOLE
           GROSS NEGLIGENCE…

   Id. at 6.




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          30.     Under the ANDIAMO Marina Agreement, Muñiz contracted to indemnify Island

   Gardens from and against any claims with respect to damages caused by M/Y ANDIAMO. This

   would include Petitioner’s claim.

          31.     Should any additional claimants enter this action and claim against Third Party

   Plaintiff, Muñiz also agreed to indemnify Island Gardens from and against any other such claims.

          32.     In accordance with Federal Rule of Civil Procedure 14(c), Island Gardens hereby

   tenders to Muñiz as a direct defendant to Petitioner for any claims made by Petitioner and any

   additional claimants for remedy over, contribution or otherwise on account of the same transaction

   or occurrence filed by the Petitioner in this proceeding.

          33.     There was a special relationship between Third Party Plaintiff and Muñiz, as there

   was an agreement between the parties whereby Muñiz specifically agreed that he would fully

   indemnify Island Gardens for anything related to the vessel, except involving Island Marina’s

   gross negligence.

          34.     No gross negligence has been claimed by Petitioner nor is it expected that any

   claimant will be able to claim in gross negligence, given that the fire originated on M/Y

   ANDIAMO.

          WHEREFORE, the Third-Party Plaintiff, ISLAND GARDENS DEEP HARBOUR, LLC

   hereby invokes Rule 14(c), Federal Rules of Civil Procedure, and demands remedy over,

   contribution and otherwise demands judgment against the Third-Party Defendant, MARCO

   MUÑIZ, for all damages that are adjudged in favor of any damages claimed by Petitioner or other

   claimants, plus interest, costs, attorney’s fees pursuant to the contract, as well as any further relief

   as this Court deems just and proper under the circumstances.

          Respectfully submitted on May 15, 2020.



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                                        By:      s/ Michelle Otero Valdes
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                                   CERTIFICATE OF SERVICE

           I hereby certify that on May 15, 2020, I electronically filed the foregoing document with
   the Clerk of the court using CM/ECF. I also certify that the foregoing document is being served
   this way on all counsel of record of pro se parties identified on the attached Service List in the
   manner specified, either via transmission of Notices of Electronic Filing generated by CM/ECF or
   in some other authorized manner for those counsel or parties who are not authorized to receive
   electronically Notices of Electronic Filing.

                                                 s/ Michelle Otero Valdes
                                                 Michelle Otero Valdes, B.C.S.


                                           SERVICE LIST



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